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   4
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   5   TIFFANY L. CARROLL
       ACTING UNITED STATES TRUSTEE
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   7
   8                       UNITED STATES BANKRUPTCY COURT
                           SOUTHERN DISTRICT OF CALIFORNIA
   9
  10   In re                     )                 Case No. 18-06051-LT11
                                 )
  11   CHRISTOPHER D. DOUGHERTY )                  UNITED STATES TRUSTEE’S EX
       and NEREIDA I. DOUGHERTY, )                 PARTE MOTION FOR AN ORDER
  12                             )                 SHORTENING TIME FOR HEARING
                                 )                 ON MOTION TO CONVERT CASE
  13                    Debtors. )                 TO ONE UNDER CHAPTER 7, OR IN
                                 )                 THE ALTERNATIVE, FOR
  14                             )                 APPOINTMENT OF CHAPTER 11
                                 )                 TRUSTEE
  15                             )
                                 )                 Judge: Hon. Laura S. Taylor
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  18
               NOW COMES, the United States Trustee (“UST”), by and through her
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  20   attorneys, and for her Ex Parte Motion for an Order Shortening Time on the
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       Motion To Convert Case To One Under Chapter 7, Or In the Alternative, For
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  23   Appointment of Chapter 11 Trustee, pursuant to LBR 9013-3(e) and LBR 9006-
  24   1(d), states as follows:
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   1         1.      The Debtors filed their voluntary petition for relief under Chapter 11
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       on October 9, 2018 and have been managing their affairs as debtors-in-possession.
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   4   The UST now believes that a trustee should be appointed in this case. The UST
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       files this Ex Parte Motion requesting that her Motion to Convert Case to One
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   7   Under Chapter 7, or in the Alternative, for Appointment of Chapter 11 Trustee

   8   (“Motion to Convert”), be heard on shortened time. The UST requests that the
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       Motion to Convert, attached hereto as “Exhibit A” and filed contemporaneously on
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  11   the docket, be heard on April 3, 2019 when the case is scheduled for status
  12
       conference.
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  14         2.      The Debtors’ case, as presented, is a complex one. The UST has

  15   reviewed hundreds of documents regarding the Debtors’ financial and business
  16
       affairs and has considered testimony by the Debtors at three sessions of the 341
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  18   Meeting of Creditors.
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             3.      As set forth in the Motion to Convert, the UST is concerned with the
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  21   Debtors’ ongoing business operations, mismanagement of the Estate, and

  22   substantial evidence of pre-petition financial fraud. The UST does not believe that
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       the Debtors have any ability to confirm a chapter 11 plan, and believes that a
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  25   trustee should be appointed as soon as possible to investigate the Debtors’ assets
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   1   and financial dealings in order to yield the best possible dividend for unsecured
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       creditors in this case.
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   4         4.      No prejudice would result from shortening time on the Motion to
   5
       Convert. The Debtors have been aware since at least the end of February 2019 that
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   7   the UST was investigating allegations of financial fraud and post-petition

   8   mismanagement and planned to file the Motion to Convert. The UST has filed
   9
       the Motion to Convert expediently and as quickly as the facts and circumstances
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  11   would permit upon conclusion of an extensive investigation. The Motion to
  12
       Convert should be heard on shortened time at the status conference scheduled for
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  14   April 3, 2019.

  15         5.      If the Court grants this ex-parte Motion, the UST will ensure that all
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       creditors are properly noticed of the Motion to Convert and the Notice of Hearing.
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  18         WHEREFORE, the UST respectfully requests that the Court enter an Order
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       shortening time for hearing on the Motion to Convert Case To One Under Chapter
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  21   7, Or In The Alternative, For Appointment Of Chapter 11 Trustee, and for all

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   1   further relief deemed fair and equitable by this Court.
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   4                                            Respectfully submitted,
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   6                                            TIFFANY L. CARROLL
   7                                            ACTING UNITED STATES TRUSTEE

   8
   9    Dated: March 14, 2019                   By: /s/ Kristin T. Mihelic
                                                    Kristin T. Mihelic
  10                                                Attorney for the Acting United
  11                                                States Trustee
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